Case 2:22-cv-02322-GW-MAA Document 1 Filed 04/06/22 Page 1 of 9 Page ID #:1



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        d/b/a SKINADE
  7

  8                                UNITED STATES DISTRICT COURT
  9                              CENTRAL DISTRICT OF CALIFORNIA
 10

 11
       RICHARD BELL, on behalf of himself                Case No. 2:22-cv-02322
 12    and all others similarly situated,                Judge:
 13                                         Plaintiff,   DEFENDANT NOTICE OF
                                                         REMOVAL PURSUANT TO 28
 14            v.                                        U.S.C. §§ 1332 AND 1441;
                                                         DECLARATION OF MARYAM
 15    BOTTLED SCIENCE INC. d/b/a                        DANISHWAR
       SKINADE, and DOES 1-10, inclusive,
 16                                                      [Filed concurrently with Civil Cover
                                         Defendant.      Sheet; Corporate Disclosure Statement
 17                                                      and Certificate of Interested Parties]
 18         TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 19 DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND HIS COUNSEL OF
 20 RECORD:

 21           PLEASE TAKE NOTICE that defendant BOTTLED SCIENCE INC. d/b/a
 22   SKINADE (“Defendant”) hereby remove the above-entitled civil action from the
 23   Superior Court of California, for the County of Los Angeles, to the United States
 24   District Court for the Central District of California, Eastern Division, pursuant to 28
 25   U.S.C. §§ 1332 and 1441. Removal is proper because complete diversity of
 26   citizenship exists between plaintiff RICHARD BELL (“Plaintiff”), on one hand, and
 27   Defendant on the other hand, and the amount in controversy exceeds the sum of
 28   $75,000, exclusive of interest and costs. In support of this Notice of Removal,
                                              1
       DEFENDANT NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441; DECLARATION OF
                                   MARYAM DANISHWAR
                                                                                  CASE NO.
      CLARKHILL\L1351\442159\266586755.v1-4/6/22
Case 2:22-cv-02322-GW-MAA Document 1 Filed 04/06/22 Page 2 of 9 Page ID #:2



  1   Defendant further state:
  2           I.      BACKGROUND
  3           1.      On March 3, 2022, Plaintiff filed a complaint (“Complaint”) in the
  4   Superior Court of California for the County of Los Angeles, entitled “Richard Bell,
  5   on behalf of himself and all others similarly situated, v. Bottled Science, Inc. dba
  6   Skinade, et al.,” designated as Case Number 22STCV07754.               By way of the
  7   Complaint, Plaintiff alleges claims for violations of California’s Unfair Competition
  8   Law (Business and Professions Code §§ 17200, et seq.).
  9           2.      On March 7, 2020, Plaintiff served Bottled Science, Inc. with the
 10   Complaint. A true and correct copy of the Summons, Complaint, and Certificate of
 11   Assignment are attached to the Declaration of Maryam Danishwar as Exhibit 1.
 12           II.     TIMELINESS OF REMOVAL
 13           3.      This Notice of Removal is timely because it is being filed within thirty
 14   days of Plaintiff’s service of the Complaint, and within one year of the
 15   commencement of this action pursuant to 28 U.S.C. § 1446(b). (See Declaration of
 16   Maryam Danishwar [“Danishwar Decl.”], Ex. 1, Plaintiff’s Complaint.)
 17           III.    PROCEEDINGS IN STATE COURT
 18           4.      As of the date of filing this Notice of Removal, there are no pending
 19   hearings before the Superior Court of California for the County of Los Angeles with
 20   respect to the state court action, other than the Initial Status Conference, which is set
 21   for April 7, 2022. (Danishwar Decl., ¶ 5.)
 22           IV.     JURISDICTION BASED ON DIVERSITY OF CITIZENSHIP
 23           5.      The Court has original jurisdiction of this action under 28 U.S.C. §
 24   1332. As described in further detail below, this action is removable pursuant to the
 25   provisions of 28 U.S.C. § 1441(b) in that it is a civil action between citizens of
 26   different states and the matter in controversy exceeds the sum of $75,000, exclusive
 27   of interests and costs.
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                                                   2
       DEFENDANT NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441; DECLARATION OF
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      CLARKHILL\L1351\442159\266586755.v1-4/6/22
Case 2:22-cv-02322-GW-MAA Document 1 Filed 04/06/22 Page 3 of 9 Page ID #:3



  1           A.      Complete Diversity Exists Between Plaintiffs and Defendant
  2           6.      Plaintiff Richard Bell is a citizen of California. For purposes of
  3   removal, a natural person is considered a citizen of the state of domicile. Kantor v.
  4   Wellesley Galleries, Ltd, 704 F.2d 1088, 1090 (9th Cir. 1983). On information and
  5   belief, Plaintiff is and was at time of filing this action a citizen of the state of
  6   California.
  7           7.      Defendant Bottled Science, Inc. is a citizen of Delaware with its
  8   principal place of business in Virginia. A corporation is deemed a citizen of every
  9   state in which it is incorporated and has its principal place of business. 28 U.S.C. §
 10   1332(c)(1).      Sharp is, was, and at all times relevant, has been a corporation
 11   incorporated under the laws of the state of Wyoming. (Danishwar Decl., ¶ 6.)
 12   Although BOTTLED SCIENCE INC., is authorized to conduct business in the state
 13   of California, its principal place of business is in Virginia. (Danishwar Dec., ¶ 6.)
 14           8.      Citizenship of DOE defendants are disregarded. The residence of
 15   fictitious and unknown defendants should be disregarded for purposes of
 16   establishing removal jurisdiction under 28 U.S.C. § 1332. See 28 U.S.C. § 1441(b)
 17   (1) (stating, “[i]n determining whether a civil action is removable on the basis of the
 18   jurisdiction under section 1332(a) of this title, the citizenship of defendants sued
 19   under fictitious names shall be disregarded”). The existence of DOE defendants 1
 20   through 10 does not deprive this Court of jurisdiction.
 21           9.      Because Plaintiff is a citizen of the state of California and Defendant is
 22   a citizen of Delaware, complete diversity between the parties exists.
 23           B.      The Amount in Controversy Exceeds $75,000
 24           10.     While Defendant denies liability as to Plaintiff’s claims, the amount in
 25   controversy requirement is satisfied because “it is more likely than not” that the
 26   amount exceeds the jurisdictional minimum of $75,000. See Sanchez v. Monumental
 27   Life Ins., 102 F.3d 398, 403-404 (9th Cir. 1996) (finding the defendant must plead
 28   “that it is ‘more likely than not’ that the amount in controversy exceeds [the
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       DEFENDANT NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441; DECLARATION OF
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      CLARKHILL\L1351\442159\266586755.v1-4/6/22
Case 2:22-cv-02322-GW-MAA Document 1 Filed 04/06/22 Page 4 of 9 Page ID #:4



  1   threshold] amount” (internal quotations and citations omitted)).
  2           11.     As the Ninth Circuit explains, “the amount-in-controversy inquiry in
  3   the removal context is not confined to the face of the complaint.” Valdez v. Allstate
  4   Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004). In order to establish the amount in
  5   controversy, a defendant may state underlying facts supporting its assertion that the
  6   amount exceeds the jurisdictional threshold. Gaus v. Miles, Inc., 980 F.2d 564, 566-
  7   567 (9th Cir. 1992).
  8           12.     In determining the amount in controversy, a court must consider the
  9   aggregate of general damages, special damages, punitive damages, and attorneys’
 10   fees. Conrad Assocs. v. Hartford Accident & Indemnity Co., 994 F.Supp. 1196, 1198
 11   (N.D. Cal. 1998).
 12           13.     Plaintiff’s Complaint alleges damages on behalf of himself and a class
 13   of members he contends are similarly situated. Plaintiff’s Complaint alleges that
 14   Plaintiff and similarly situated Class members are entitled to enforce all applicable
 15   penalty provisions pursuant to Cal. Bus. & Prof. Code § 17202, and to obtain
 16   injunctive relief pursuant to Cal. Bus. & Prof. Code § 17203. (Danishwar Decl., ¶
 17   3, Ex. 1, Complaint p. 16.) Plaintiff’s prayer for damages includes a preliminary and
 18   permanent injunction, damages and reasonable attorneys' fees and costs and other
 19   expenses of suit pursuant to California Code of Civil Procedure § 1021.5, and/or
 20   other applicable law. (Danishwar Decl., ¶ 3, Ex. 1, Complaint p. 16.) Because
 21   Plaintiff has failed to specifically allege his damages, Defendant is forced to rely n
 22   external facts to support their assertion that the amount exceeds the jurisdictional
 23   threshold. See Gaus v. Miles, Inc., 980 F.2d 564, 566-567 (9th Cir. 1992).
 24           V.      VENUE
 25           14.     Without waiving Defendant’s right to challenge, among other things,
 26   personal jurisdiction by way of motion, responsive pleadings, or otherwise, venue
 27   for this removed action lies in the Central District of California pursuant to 28 U.S.C.
 28   §§ 1441, 1446(a), and 84(c). Plaintiff brought this action in the Superior Court of
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       DEFENDANT NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441; DECLARATION OF
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      CLARKHILL\L1351\442159\266586755.v1-4/6/22
Case 2:22-cv-02322-GW-MAA Document 1 Filed 04/06/22 Page 5 of 9 Page ID #:5



  1   the State of California, County of Los Angeles, which is located within the Central
  2   District of the State of California. Venue is proper in this Court because it is the
  3   “district and division embracing the place where such action is pending.” 28 U.S.C.
  4   § 1441(a).
  5           VI.     SERVICE OF NOTICE OF REMOVAL ON PLAINTIFFS AND
  6   THE CLERK OF THE SUPERIOR COURT
  7           16.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this
  8   Notice of Removal will be promptly served on Plaintiff and, together with a copy of
  9   the Notice of Removal, will be filed with the Clerk of the Superior Court of the State
 10   of California, County of Los Angeles, in the state court action.
 11           17.     This Notice of Removal will be served on counsel for Plaintiff. A copy
 12   of the Proof of Service regarding the Notice of Removal will be filed shortly after
 13   those papers are filed and served.
 14           18.     In compliance with 28 U.S.C. § 1446(a), true and correct copies of all
 15   process, pleadings, and orders filed and/or served in this action are attached to the
 16   Danishwar Declaration as Exhibit 1.
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       DEFENDANT NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441; DECLARATION OF
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Case 2:22-cv-02322-GW-MAA Document 1 Filed 04/06/22 Page 6 of 9 Page ID #:6



  1           VII. PRAYER FOR REMOVAL
  2           19.     WHEREFORE, Defendant files this Notice of Removal of this action
  3   from the Superior Court of the State of California, County of Los Angeles, in which
  4   it is now pending, to the United States District Court for the Central District of
  5   California, Eastern Division.
  6           21.     Defendant hereby requests that this Court exercise jurisdiction over all
  7   further proceedings in this action.
  8           22.     Defendant hereby provides notice of and demand a jury trial in the
  9   above-captioned matter.
 10

 11   Dated: April 6, 2022                               CLARK HILL LLP
 12

 13
                                                   By:
 14                                                                 Bradford G. Hughes
                                                                    Maryam Danishwar
 15
                                                         Attorneys for Defendant BOTTLED
 16                                                      SCIENCE INC. d/b/a SKINADE
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       DEFENDANT NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441; DECLARATION OF
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      CLARKHILL\L1351\442159\266586755.v1-4/6/22
Case 2:22-cv-02322-GW-MAA Document 1 Filed 04/06/22 Page 7 of 9 Page ID #:7



  1                      DECLARATION OF MARYAM DANISHWAR
  2           I, Maryam Danishwar, declare as follows:
  3           1.      I am an attorney at law, duly licensed to practice before the courts of
  4   the State of California. I am an associate with the law firm of Clark Hill LLP,
  5   attorneys of record for defendant BOTTLED SCIENCE INC. d/b/a SKINADE
  6   (“Defendant”).
  7           2.      I submit this declaration in support of Defendant’s Notice of Removal
  8   Pursuant to 28 U.S.C. §§ 1332 and 1441. I have personal knowledge of the facts
  9   stated herein and could and would testify competently thereto if called as a witness
 10   in this matter.
 11           3.      On March 7, 2022, plaintiff Richard Bell (“Plaintiff”) served Defendant
 12   with the complaint filed in the Superior Court of California for the County of Los
 13   Angeles, entitled “Richard Bell, on behalf of himself and all others similarly
 14   situated, v. Bottled Science, Inc. dba Skinade, et al.” (“Complaint”). A true and
 15   correct copy of the Summons, Complaint, Statement of Damages, and all pleadings
 16   served on Defendant is attached to this Declaration as Exhibit 1.
 17           4.      The Complaint alleges claims for violations of California’s Unfair
 18   Competition Law (Business and Professions Code §§ 17200, et seq.)
 19           5.      As of the date of filing this Notice of Removal, there are no pending
 20   hearings before the Superior Court of California for the County of Los Angeles with
 21   respect to the state court action, other than the Initial Status Conference, which is set
 22   for April 6, 2022.
 23   ///
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       DEFENDANT NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441; DECLARATION OF
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      CLARKHILL\L1351\442159\266586755.v1-4/6/22
Case 2:22-cv-02322-GW-MAA Document 1 Filed 04/06/22 Page 8 of 9 Page ID #:8



  1           6.      BOTTLED SCIENCE INC. d/b/a SKINADE was, is, and at all times
  2   relevant, has been a corporation incorporated under the laws of the state of Delaware
  3   with its principal place of business in Virginia.
  4            I declare under penalty of perjury under the laws of the state of California
  5   that the foregoing is true and correct.
  6           Executed on April 6, 2022, at Los Angeles, California.
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                                                       Maryam Danishwar
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       DEFENDANT NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441; DECLARATION OF
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      CLARKHILL\L1351\442159\266586755.v1-4/6/22
Case 2:22-cv-02322-GW-MAA Document 1 Filed 04/06/22 Page 9 of 9 Page ID #:9



  1                                  CERTIFICATE OF SERVICE
  2
              I hereby certify that I electronically filed the foregoing document(s) with the
  3
      Clerk of the Court for the United States District Court, Central District of
  4
      California, by using the Court’s CM/ECF system on April 6, 2022
  5
              I certify that all participants in the case are registered CM/ECF users and
  6
      that service will be accomplished by the Court’s CM/ECF system.
  7
                                                   /s/ Hiba Hammad
  8                                                 Hiba Hammad
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       DEFENDANT NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441; DECLARATION OF
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      CLARKHILL\L1351\442159\266586755.v1-4/6/22
